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 I
                                     UNITED STATES DISTRICT COURT
 2
                                  SOUTHERN DISTRICT OF CALIFORNIA
 3
 4     S. L,                                        Case No. 18cv428 OMS MOD
 5
                        Petitioner-Plaintiff,
 6                                                  Hon. Dana M. Sabraw
           vs.
 7     .S. IMMIGRATION AND CUSTOMS
 8
       NFORCEMENT, et al.,

 9
            Respondents-Defendants.
     -n---------------_J
10
11          DECLARATION OF FEDERAL FIELD SPECIALIST, CHICAGO, JULISSA
                            PORTALESBANZON,MS
12                   OFFICE OF REFUGEE RESETTLEMENT,
13
                 ADMINISTRATION FOR CHILDREN AND FAMILIES,
          UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES
14
15 I, Julissa Portales Banzon, for my declaration pursuant to 28 U.S.C. § 1746, hereby state
16
      and depose as follows:
17
18             1.   I am a Federal Field Specialist (FFS) for the Office of Refugee Resettlement

19 ("ORR"), an Office within the Administration for Children and Families ("ACF"),
20
      Department of Health and Human Services ("HHS"). The following statements are based
21
22 on my personal knowledge, information acquired by me in the course of performing my

23 official duties, information contained in the records of HHS, and information supplied to
24
      me by current HHS employees. I am located in Chicago, Illinois.
25
26          2.      Generally, when UAC are apprehended by officers working for the

27 Department of Homeland Security (OHS), DHS refers them to ORR as UAC per
28
      applicable law.
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 I           3.     In this case, S.S., a seven year old girl reportedly from the Congo, was
 2
      referred to ORR on November 5,2017 by OHS as an "unaccompanied alien child".
 3
             4.     Once a referring agency such as OHS refers a child as a UAC, it is the
 4
 5 general policy of HHS/ORR not to revisit their "unaccompanied" status. Rather,
 6
      HHS/ORR policy is to adhere to the requirements in the William Wilberforce Trafficking
 7
 8 Victims Protection Reauthorization Act of2008 (TVPRA), 8 U.S.C. § 1232(c)(3), to
 9 determine the suitability of a sponsor prior to release. See ,r Paragraph 11, infra,
10
       explaining the process whereby ORR reunifies a child with a sponsor, including verifying
11
       the identity of a sponsor who claims to be her parent, as well as confirming the
12
13 relationship between the child and the sponsor.
14
             5.     Also in accordance with the TVPRA, ORR follows child welfare best
15
      practices to place a "child in the least restrictive setting appropriate for the child," taking
16
17 into account factors such as the child's age and gender. 8 U.S.C. § 1232(c)(2)(A); ORR
18
      Guide to Children Entering the United States Unaccompanied (ORR Guide), at Section
19
      1.1 (Summary of Policies for Placement and Transfer of Unaccompanied Alien Children
20
21 in ORR Care Provider Facilities) (available at https://www.acf.hhs.gov/orr/
22
      resource/children-entering-the-united-states-unaccompanied, last visited March 6, 2018).
23
      ORR provides grants to numerous types of care providers, including foster care providers
24
25 and shelter-care group home type shelters in order to meet the needs ofUAC in ORR care
26
      and custody. See ORR Guide, at Section 1.2 (ORR Standards for Placement and Transfer
27
28 Decisions).

                                                      2
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 I         6.     S.S. is currently in the care and custody of ORR and has been housed since
2
     November 5, 2017 by Heartland ICC, a non-secure shelter facility in Chicago Illinois.
3
4 The shelter is licensed by the State of Illinois to provide residential care to children. The

 5 facility is one which is capacitated to shelter young children such as S.S. and is routinely
 6
     used for such children. The facility also provides care to many young children from
 7
 8 diverse non-Central American countries such as the Congo, Guinea, Nepal, Haiti,
 9 Kyrgyzstan, China, Vietnam, India, Bangladesh, and Romania. At Heartland ICC, S.S.
10
     receives case management, clinical, educational and medical services while in care.
11
            7.     ORR has sought acceptable proof from DHS and Ms. L to verify that Ms. L
12

13   is S.S. 's biological mother as she alleges. Despite multiple attempts to gather appropriate
14
     documentation such as a birth certificate or other government-issued identification, ORR
15
     has to date been unable to verify the alleged parental relationship. The only available
16
17 documentation of S.S.' s identity is a school identification card reportedly from Brazil

18
     (where the minor and Ms. L reportedly lived before traveling to the U.S.) which does list
19
     Ms. Las the child's mother. The shelter Heartland ICC has made attempts to contact the
20
21   minor's father and a reported family friend by calling the telephone numbers outside the

22 U .S. provided by Ms. L; however, these numbers did not work. Ms. L also requested that
23
   the shelter contact the Angola and Congo consulates in order to secure birth certificates
24
25 for the minor and Ms. L, which Heartland ICC did, but neither consulate has responded

26
     yet to this request for assistance.
27
28

                                                   3
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 I         8.     S.S. 's immigration attorney requested a DNA test in order establish definitely
 2
     whether Ms. Lis S.S.'s biological mother as she alleges. Therefore, ORR and the
 3
 4 Heartland ICC shelter have taken affirmative steps in an effort to obtain the requisite
 5 consent from Ms. L and DHS, and to arrange such testing, which was conducted for the
 6
     minor on Wednesday, March 7 (today), at 10 a.m.
 7
           9.     Although the minor S.S. 's putative mother, Ms. L, was just released from
 8

 9 OHS custody, ORR must still follow its usual release policy and procedures before
10
     releasing S.S. to her. Under the TVPRA, see 8 U.S.C. § 1232(c)(3)(A), HHS (ORR) is
11
12 required to "make[] a determination that a proposed custodian is capable of providing for
13 the child's physical mental well-being. Such determination shall, at a minimum, include
14
     verification of the custodian's identity and relationship to the child, if any, as well as an
15
     independent finding that the individual has not engaged in any activity that would indicate
16
17 a potential risk to the child."
18
            10.   Correspondingly, ORR policy requires the timely release ofUAC to qualified
19
     parents, guardians, relatives, or other adults, referred to collectively as "sponsors." ORR
20
21 Guide, at Section 2.1 (Summary of Safe and Timely Release Process). Consistent with
22
     the TVPRA's mandate, see 8 U.S.C. § 1232(c)(3)(A), ORR evaluates the ability of any
23
     potential sponsor, including an individual who claims to be the child's parent, to provide
24
25 for the child's physical and mental well-being, in order to protect him or her from
26
     "smugglers, traffickers, or others who might seek to victimize or otherwise engage the
27
28 child in criminal, harmful or exploitative activity." ORR Guide, at Section 2.1 .

                                                    4
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 1 According to ORR policy: "The process for the safe and timely release of an
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      unaccompanied alien child from ORR custody involves many steps, including: the
3
 4 identification of sponsors; the submission by a sponsor of the application for release and

5 supporting documentation; the evaluation of the suitability of the sponsor, including
6
      verification of the sponsor's identity and relationship to the child, background checks, and
 7
 8 in some cases home studies; and planning for post-release." Id. (Emphasis added.) While
 9 ORR' s preference is to release a child to an appropriate sponsor who is verified to be the
10
      child's parent (see ORR Guide, Section 2.2.1), each of these steps apply to all sponsors
11
12 prior to release, including the putative parent of a child such as S.S.
13          I, Julissa Portales Banzon, M.S., declare under penalty of perjury that the foregoing
14
      is true and correct. Executed on March 7, 2018.
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                                                Julissa Portales Banzon, M.S., Federal Field
18                                              Specialist, Chicago
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